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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                             EASTERN DIVISION
_____________________________________________________________________________

UNITED STATES OF AMERICA

              Plaintiff,

v.                                                       Cr. No. 17-CR-10067-STA

ASHLEY SWEAT

            Defendant.
______________________________________________________________________________

                                   ORDER
______________________________________________________________________________

       Upon the Agreed Motion of the Defendant and the United States Attorney to continue the

June 19, 2018 sentencing date;

       IT IS HEREBY ORDERED that the Defendant’s sentencing date be and hereby is

continued to Tuesday, July 31, 2018 at 9:00 a.m.




                                            s/S. Thomas Anderson
                                            S. THOMAS ANDERSON, CHIEF UNITED
                                            STATES DISTRICT JUDGE
                                            Date: 6/12/2018
